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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )       Crim. No. 1:19-cr-148
                                                      )
                                                      )
PRAKAZREL MICHEL,                                     )
LOW TAEK JHO                                          )
                                                      )


    UNITED STATES’ NOTICE RE VOIR DIRE, EXHIBIT LIST, & WITNESS LIST

       The United States, by and through its undersigned attorneys, respectfully submits this

Notice pursuant to the Court’s Pretrial Scheduling Order, ECF No. 106. Prior to filing this Notice,

on today’s date, September 30, 2022, the government provided to defense counsel via email a

Witness List, including 70 witnesses, 20 of whom are custodians, and an Exhibit List, including

552 exhibits with descriptions and corresponding Bates numbers. The government anticipates

potentially identifying limited additional witnesses and exhibits between today and the start of trial

on November 4, 2022. The government will provide notice to defense counsel of any additional

witnesses and exhibits identified prior to trial. The government will also provide a full electronic

set of marked exhibits to defense counsel prior to trial. Finally, the government will file the

Witness List and Exhibit List on the public docket in advance of trial.

       On September 21, 2022, the government notified defense counsel that the government had

no objections to the Court’s proposed voir dire questions and proposed a Statement of the Case

largely mirroring the Statement of the Case proposed below for inclusion during voir dire. Defense

counsel has not responded or objected to the government’s proposed Statement of the Case.




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       Statement of the Case

       The defendant, Mr. Michel is charged with two schemes to obtain illegal access to and

influence with high-ranking officials in the United States government. First, Mr. Michel is charged

with several offenses stemming from his alleged illegal political contributions on behalf of a

foreign national, Low Taek Jho (“Jho Low”), into political committees supporting the reelection

of former President of the United States Barack Obama in 2012. Mr. Michel is alleged to have

moved Jho Low’s money through third parties, also known as conduits, and his own companies to

conceal the foreign source of the funds. Michel is also alleged to have caused the filing of false

reports with, and to have submitted his own false declaration to, the Federal Election Commission

concealing Jho Low as the true source of the political contributions allegedly made by third parties

at his direction and allegedly made by Mr. Michel through his own businesses. Mr. Michel is also

alleged to have illegally attempted to discourage witnesses from cooperating with the

government’s investigation into Michel’s making of illegal foreign and conduit political

contributions.

       Second, Mr. Michel is charged with several offenses relating to his alleged agreement to

work with a politically connected individual in the United States on behalf of Jho Low in an

attempt to influence former President of the United States Donald Trump and high-ranking

individuals in his Administration to end a DOJ civil and criminal investigation into Jho Low, all

while concealing that Mr. Michel and his co-conspirators were working on behalf of Jho Low. Mr.

Michel is also alleged to have agreed to work with the same individuals on behalf of the People’s

Republic of China (“PRC” or “China”) to influence former President Donald Trump and high-

ranking members of his Administration to remove a Chinese dissident from the United States and

send him back to China, also while concealing that Mr. Michel and his co-conspirators were



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working on behalf of the PRC government. Mr. Michel is alleged to have received tens of millions

of dollars for these influence efforts and to have failed to disclose his status as an agent of Jho Low

and the People’s Republic of China to the United States Department of Justice and the Attorney

General.    Mr. Michel is also alleged to have engaged in international financial transactions to

promote the illegal influence efforts on behalf of Jho Low and to have engaged in domestic

financial transactions for the purpose of concealing the true source, purpose, and control of the

funds. Finally, Mr. Michel is alleged to have agreed to make false statements to financial

institutions regarding the purpose and source of the transactions and funds used to pay for and

further the illegal influence campaigns.



                                                      Respectfully submitted,

                                                      COREY R. AMUNDSON
                                                      Chief, Public Integrity Section
                                                      Criminal Division
                                                      U.S. Department of Justice



                                                      By: /s/ John D. Keller
                                                         John D. Keller
                                                         Principal Deputy Chief

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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: September 30, 2022                                /s/ John D. Keller
                                                         John D. Keller




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